     Case 1:15-cr-00045-LJO-BAM Document 194 Filed 04/25/18 Page 1 of 2


 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   MEGAN T. HOPKINS, Bar #294141
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5   Fax: (559) 487-5950
 6   Attorneys for Defendant
     MARTIN BAHRAMI
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                     Case No. 1:15-cr-0045-LJO
12                      Plaintiff,                  STIPULATION TO CONTINUE
                                                    SENTENCING; ORDER THEREON
13    vs.
                                                    Date: March 18, 2019
14    MARTIN BAHRAMI,                               Time: 8:30 a.m.
                                                    Judge: Hon. Lawrence J. O’Neill
15                      Defendant.
16
17           IT IS HEREBY STIPULATED by and between the parties hereto, through their
18   respective attorneys of record, Assistant United States Attorney, HENRY CARBAJAL, counsel
19   for plaintiff and Assistant Federal Defender, MEGAN T. HOPKINS, counsel for defendant, that
20   the sentencing hearing set for June 18, 2018, be continued to March 18, 2019 at 8:30 a.m.
21           Sentencing in this matter has been trailing the trial schedule for co-defendants since Mr.
22   Bahrami’s change of plea on November 16, 2015. Trial is currently set for the co-defendants to
23   begin on January 29, 2019, and therefore the parties prefer to continue sentencing to a date
24   following the trial.
25           The parties further stipulate and request that the deadlines set for informal objections to
26   the Probation Office and formal objections to the Court be reset in accordance with the continued
27   sentencing date.
28   ///
     Case 1:15-cr-00045-LJO-BAM Document 194 Filed 04/25/18 Page 2 of 2


 1                                                   Respectfully submitted,
 2                                                   HEATHER E. WILLIAMS
                                                     Federal Defender
 3
 4   DATED: April 25, 2018                           /s/ Megan T. Hopkins
                                                     Megan T. Hopkins
 5                                                   Assistant Federal Defender
                                                     Attorney for Defendant
 6                                                   Martin Bahrami
 7
                                                     McGREGOR W. SCOTT
 8                                                   United States Attorney
 9
10   DATED: April 25, 2018                           /s/ Henry Carbajal
                                                     HENRY CARBAJAL
11                                                   Assistant United States Attorney
                                                     Attorney for Plaintiff
12
13
                                              ORDER
14
15
     IT IS SO ORDERED.
16
17       Dated:         April 25, 2018                /s/ Lawrence J. O’Neill _____
                                              UNITED STATES CHIEF DISTRICT JUDGE
18
19
20
21
22
23
24
25
26
27
28


      Bahrami / Stip to Continue Sentencing    -2-
